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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION


SONIA BARRAGAN individually and as        NO. __________
representative of the estate of ADRIAN
BARRAGAN CASTELLANOS

                      Plaintiffs,
                                          COMPLAINT FOR DAMAGES
       v.                                 Personal Injury Action (28 U.S.C. §1332)


TOYOTA MOTOR NORTH AMERICA,
INC.; TOYOTA MOTOR ENGINEERING            [DEMAND FOR JURY TRIAL]
& MANUFACTURING NORTH
AMERICA, INC.; TOYOTA MOTOR
SALES, U.S.A., INC; and TOYOTA
MOTOR CORPORATION

                      Defendants.


                         PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF THE COURT:

       COMES NOW Plaintiff SONIA BARRAGAN individually and as representative of the

estate of ADRIAN BARRAGAN CASTELLANOS (“Plaintiff”), by and through her counsel, and

alleges as follows:

                                    INTRODUCTION

   1. This action seeks to recover damages arising from the death of ADRIAN BARRAGAN

       CASTELLANOS suffered as a result of a crash caused by the sudden and unintentional

       acceleration of the 2015 Toyota Camry (VIN 4T1BF1FK1FU075874) (“subject vehicle”)

       he was driving.
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2. For the past 50 years, Toyota has publicly committed itself to building the safest and most

   reliable cars on the road. Toyota gained trust and loyalty from American consumers, who,

   in turn, established Toyota’s position in 2008 as the number one brand of cars sold in the

   United States. However, Toyota breached that trust.

3. In the fall of 2009, news spread that California Highway Patrol Officer Mark Saylor and

   his family died in a crash after a 2009 Lexus ES 350 that he was driving accelerated out of

   control. This incident shocked and alarmed the American public, sparking investigations

   into the extent of unintended acceleration (“UA”) incidents, what Toyota knew, and when

   they knew it. Internal company documents revealed that Toyota concealed information

   about UA problems with its vehicles, including the true nature of the defect and the number

   of resulting incidents, injuries, and deaths.

4. From 2002 to 2010, Toyota continuously denied any problems with the throttle control

   systems on its vehicles. Meanwhile, as a Congressional probe uncovered, Toyota received

   more than 37,900 reports from customers describing unintended acceleration, surging

   and/or speed control problems across many models and years.

5. The UA phenomenon is both real and terrifying. Toyota’s own data projects that UA has

   accounted for, at least, 760 crashes. Independent safety researchers estimate that UA-

   related crashes have led to 341 injuries and 19 deaths.

6. All Toyota vehicles with the electronic throttle control system (“ETCS”) (beginning

   extensively in Model Year 2002, and some dating back to Model Year 1998) contain design

   defects that cause sudden and uncontrolled acceleration to speeds of up to 100 miles per

   hour or more.
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7. The affected vehicles are defective because they experience UA events and because they

   lack a mechanism, such as a brake override system, to prevent, mitigate, or stop a UA

   event.

8. Specifically, there are at least four design defects in these vehicles that cause or contribute

   to dangerous UA incidents.

9. First, these vehicles have an inadequate fault detection system that is not robust enough to

   anticipate foreseeable unwanted outcomes, including UA.

10. Second, the ETCS, ECM and related systems are highly susceptible to malfunction caused

   by various electronic failures, including but not limited to faulty circuit boards, short

   circuits, software failures, software glitches, and electromagnetic interference from sources

   outside the vehicle.

11. Third, these vehicles lack brake override and brake assist systems, meaning that the driver

   is unable to manually stop or slow the engine during a UA incident by stepping on the

   brakes. The absence of an effective fail-safe measure is particularly dangerous given the

   propensity of Toyota vehicles to suddenly accelerate.

12. Fourth, the subject vehicle contains an accelerator pedal defect that has been subject to a

   recall (NHTSA Recall 09V388000), which may lead to a stuck accelerator pedal in the

   wide-open position, that may result in very high vehicle speeds and make it difficult to stop

   the vehicle, which could cause a crash, serious injury or death.

13. These defects alone, or in combination, render certain Toyota vehicles unreasonably

   dangerous and unable to perform as safely as an ordinary consumer would expect.

14. Toyota could have easily implemented a brake override and brake assist system years ago,

   which would have prevented UA-related incidents, regardless of the precise cause. With a
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   brake override and brake assist system, when a UA event begins to occur, drivers can

   override the acceleration or surging by pressing the brake. From at least 2002, Toyota

   knew or should have known that the state of the art in the automotive industry for electronic

   throttle control systems included the installation of a brake override system.

15. Internal company documents show that by at least 2007, Toyota knew that installing a

   brake override system could prevent UA events. Toyota manager Koji Sakakibara stated

   in a document dated September 1, 2009 that “during the floor mat sticking issue in 2007

   TMS (likely refers to Toyota Motor Sales) suggested that there should be failsafe option

   similar to that used by other companies to prevent unintended acceleration.” However,

   Toyota did not heed that suggestion. Sakakibara stated that “Information concerning the

   sequential inclusion of a failsafe system would be given by Toyota to NHTSA when Toyota

   was invited in 2008.”

16. Despite the feasibility and availability of a brake override system, and despite the fact that

   Toyota’s internal documents show that Toyota was aware of the UA problem, Toyota

   negligently and recklessly failed to install this protective measure in its vehicles.

17. Even in late 2009 and early 2010 when Toyota announced recalls involving a brake

   override system, Toyota purposely hid the fact that this redesign was safety-related and

   critical to preventing UA. Instead, Toyota claimed that the brake override system was

   “being added as an extra measure of confidence for Toyota owners.”

18. When pressed to explain and implement solutions to UA, Toyota issued recalls to address

   alleged mechanical issues, such as defective floor mats and sticky accelerator pedals.

   While these problems undoubtedly posed real dangers for some drivers, a far greater

   number of vehicles were affected by the ETCS design defects described herein. Indeed,
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   the “sticky pedal” and “floor mat” recalls have failed to adequately address the UA

   problem. Drivers continue to report UA incidents in vehicles that were not part of the

   recalls. Likewise, even among vehicles that were recalled and repaired, drivers continue

   to report experiences of UA.

19. Toyota effectively used these “floor mat” and “sticky pedal” problems to downplay and

   divert attention away from the major design defects and safety problems with the ETCS,

   including the need for a brake override system. Rather than revealing the truth about its

   UA electronic/software/hardware defects, Toyota highlighted and promoted the floor mat

   and pedal recalls as a “smoke screen,” while at the same time misleadingly characterizing

   the “reflashing” of the computer software to allow for brake override as merely a

   “confidence” boost.

20. Statements from Toyota’s leadership at the highest levels reveal that Toyota knows and

   has known that its vehicles present an unreasonable danger, in that they are subject to UA

   as a result of defects in their design and manufacture, and confirm that Toyota has acted

   carelessly and recklessly in addressing this problem:

          a. Koji Sakakibara, a Toyota manager, knew in 2007 that other auto companies had

   installed brake override systems to prevent UA;

          b. Toyota Motor Corporation’s CEO, Akio Toyoda, acknowledged that Toyota had

   grown too quickly;

          c. Toyota Motor Sales President, James Lentz, admitted that the floor mat and pedal

   recalls do not totally solve the unintended acceleration problem;

          d. Toyota North America’s President, Yoshimi Inaba, conceded that “Toyota has

   not lived up to its high standards”; and
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           e. Toyota Motor Corporation’s Executive Vice President, Shinichi Sasaki

   concluded that Toyota did not listen to “many voices” of unintended acceleration.

21. Toyota promised trust and safety, but delivered neither.        Rather than recalling the

   problematic vehicles and implementing a feasible and readily available brake override

   system, Toyota hid the problem and proposed inadequate and misleading solutions.

   Toyota’s actions have resulted in preventable UA incidents, leading to numerous fatalities

   and injuries, including those suffered by Plaintiff.

                             JURISDICTION AND VENUE

22. This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §

   1332 because the amount in controversy is greater than $75,000, exclusive of interest and

   costs, and because there is complete diversity of citizenship among the parties.

23. This Court has personal jurisdiction over the Defendants because a substantial portion of

   the wrongdoing alleged in this Complaint took place in Texas, the Defendants are

   authorized to do business in Texas, the Defendants have minimum contacts with Texas,

   and/or the Defendants otherwise intentionally avail themselves of the markets in Texas

   through the promotion, marketing and sale of their products in Texas, each of which are

   sufficient bases to render the exercise of jurisdiction by this Court permissible under

   traditional notions of fair play and substantial justice.

24. Venue is proper in the Eastern District of Texas, Beaumont Division pursuant to 28 U.S.C.

   § 1391(a) and (b) because a substantial part of the events, acts and omissions giving rise to

   these claims occurred in the that district and division.

                                         PARTIES
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25. At all times herein mentioned, Plaintiff SONIA BARRAGAN was and is a resident and

   citizen of Texas.

26. At all relevant times prior to his death, ADRIAN BARRAGAN CASTELLANOS was a

   resident and citizen of Texas.

27. At all times herein mentioned, Defendant Toyota Motor North America, Inc. was and is a

   California corporation and a resident and corporate citizen of California, with its principal

   place of business at 19001 South Western Avenue, in the City of Torrance, County of Los

   Angeles, in the State of California.

28. At all times herein mentioned, Defendant Toyota Motor Engineering & Manufacturing

   North America, Inc. was and is a Kentucky corporation and a resident and corporate citizen

   of Kentucky, with its principal place of business located at 25 Atlantic Avenue, in the City

   of Erlanger, in the State of Kentucky.

29. At all times herein mentioned, Defendant Toyota Motor Sales, U.S.A., Inc. was and is a

   California corporation and a resident and corporate citizen of California, with its principal

   place of business at 19001 South Western Avenue, in the City of Torrance, County of Los

   Angeles, in the State of California.

30. Upon information and belief, each Toyota entity named above is a wholly owned

   subsidiary of Defendant Toyota Motor Corporation, a Japanese corporation with its

   principal place of business located at 1 Toyota-Cho, Toyota City, Aichi Prefecture, 471-

   3571, Japan.

31. At all times herein mentioned, Defendants Toyota Motor North America, Inc., Toyota

   Motor Engineering & Manufacturing North America, Inc., Toyota Motor Sales, U.S.A.,

   Inc., and Toyota Motor Corporation (collectively, “Toyota” or “Defendants”) designed,
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        engineered, developed, manufactured, fabricated, assembled, equipped, tested or failed to

        test, inspected or failed to inspect, repaired, retrofitted or failed to retrofit, failed to recall,

        labeled, advertised, promoted, marketed, supplied, distributed, wholesaled, and/or sold

        Toyota vehicles, including the vehicle operated by the ADRIAN BARRAGAN

        CASTELLANOS.

     32. At all times herein mentioned, Defendants, and each of them, were acting as agents and

        employees of each of the other Defendants, and were acting within the scope, purpose, and

        authority of that agency and employment and with the full knowledge, permission, and

        consent of each of the other Defendants.

                                    FACTUAL ALLEGATIONS

I.      Toyota’s Unintended Acceleration Defect

        A.      Overview of Toyota’s Success and The Toyota Brand

     33. Toyota came to America in 1957, establishing its headquarters in Hollywood, California

        in an old Rambler dealership. After a disappointing start, Toyota quickly gained traction

        in the United States auto market and eventually became a leader. In 2003, Toyota sold

        6,780,000 vehicles and overtook Ford Motor Company to become second in annual sales

        behind only General Motors. Three years later, Toyota passed General Motors as the

        number one brand of cars sold in the United States, with 8,800,000 vehicles sold.

     34. Toyota is currently the world’s largest manufacturer of vehicles. For the fiscal year ending

        in March 2010, Toyota reported more than $200 billion in worldwide sales.

     35. Toyota holds its brand out as synonymous with “innovation, quality and reliability,”

        claiming      that     “safety     and      satisfaction”        are    its     “top    priorities.”

        http://www.toyota.com/about/our_business/sales/          (last     visited    August   17,   2010);
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     Templin’s Statement Regarding Lexus LS Voluntary Safety Recall, available at:

     http://www.toyota.com/about/news/corporate/2010/05/21-3-LexusLSRecall-

     MarkTemplin-Statement.html.

36. Since at least 1998, Toyota has continuously promised trust and safety to prospective

     purchasers and the American public.

B.           The Toyota Electronic Throttle Control System’s Susceptibility to Unintended
             Acceleration Problems and Lack of Adequate Safeguards

37. Beginning in the late 1990s, Toyota manufactured, distributed, and sold vehicles with an

     electronic throttle control system (“ETCS vehicles” or “subject vehicles”).

38. Unlike traditional throttle control systems, ETCS has no physical linkage from the

     accelerator pedal to the engine throttle. Rather, a sensor at the accelerator detects how far

     the gas pedal is depressed and transmits that information to computer modules, which

     control a motorized engine throttle. The computer modules determine how far the

     accelerator is depressed, and, in turn, tell the engine throttle motor how far to open the

     throttle valve.

39. When Toyota first introduced the ETCS, it continued to include a mechanical linkage

     between the accelerator and the engine throttle control.

40. Beginning in Model Year 2002 on most models, and in approximately 1998 on other higher

     end models, Defendants began manufacturing, distributing, and selling vehicles without

     such mechanical linkage.

41. The ETCS, as a computer-based system, is highly susceptible to malfunction, or “glitches,”

     caused by various electronic and mechanical failures, including but not limited to short

     circuits, software errors, and electromagnetic interference from sources outside the vehicle.
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  42. Despite known hardware, software, and component problems, ETCS vehicles do not have

       adequate safeguards to protect drivers from UA. The fault detection system in these

       vehicles is not robust enough to detect and prevent foreseeable UA events.

  43. Additionally, the subject vehicles lack a brake override system, incorporated by other

       vehicle manufacturers, that instructs the ETCS to automatically reduce the engine power

       to idle whenever the brakes are applied. This measure is critical, as a significant number of

       motorists that experienced UA reported that no amount of braking would stop the vehicle.

       Moreover, the absence of a fail-safe brake override system is particularly dangerous given

       the susceptibility of the ETCS to malfunction in Toyota vehicles.

  44. These defects alone, or in combination, are lethal. In the subject vehicles, an ETCS

       malfunction can set the engine throttle to any speed, regardless of the position of the

       accelerator, and the driver has no mechanism to effectively stop or slow the car.

  45. While the full scope of the UA problem is still unfolding, Toyota’s own data reveals that

       UA has accounted for at least 760 crashes. Independent safety experts at Safety Research

       and Strategies, Inc. estimate that UA related crashes have led to approximately 341 injuries

       and 19 deaths.

  C.          Unintended Acceleration Timeline:           Toyota’s Knowledge Regarding the
              Defects

  46. Toyota has received evidence for many years, from a variety of sources that its vehicles

       have accelerated suddenly and unexpectedly in a variety of scenarios.

  47. In February 2002, Toyota received what is believed to be the first consumer complaint

       alleging that the engine surged while the brakes were depressed. By August 2002, Toyota

       had received ten other similar complaints. Toyota Motor Corporation allegedly

       investigated the surging problem but failed to uncover the root cause. According to a May
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     20, 2002 internal report, Toyota claimed that the “root cause of the surging condition

     remains unknown” and “no known remedy exists for the surging condition at this time.”

  48. In February 2003, The National Highway Traffic Safety Administration (“NHTSA”)

     conducted its first of many investigations regarding speed control problems in Toyota

     vehicles. The first two NHTSA investigations involved the Camry and Solara models.

  49. On April 25, 2003, NHTSA issued Defect Petition DP03 003. The petitioner requested

     that the agency conduct an analysis of 1997 through 2000 Lexus vehicles for “problems of

     vehicle speed control linkages which results [sic] in sudden, unexpected excessive

     acceleration even though there is no pressure applied to the accelerator pedal.” The

     petitioner noted that the NHTSA website contained thirty-six complaints referring

     specifically to unintended acceleration in Lexus vehicles. Among the several complaints

     that described crashes, one complaint described a Lexus that “collided with five other cars

     in the space of [one half] mile before it could be stopped.

  50. In April 2003, Toyota dealt internally with an “unwanted acceleration” incident during

     production testing of the Sienna model.

  51. In a May 5, 2003 Field Technical Report (FTR), Toyota admitted that “[s]udden

     acceleration against our intention,” was an “extremely serious problem for customers.” In

     the FTR, a Toyota technician internally reported an “unwanted acceleration” incident: “We

     found miss-synchronism between engine speeds and throttle position movement. . . . Even

     after replacement of those parts, this problem remains.”        The technician requested

     immediate action due to the “extremely dangerous problem” and continued: “[W]e are also

     much afraid of frequency of this problem in near future.”
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  52. In July 2003, at an owner’s request, NHTSA opened the first probe into UA complaints

     regarding Lexus sedans.

  53. In January 2004, another consumer filed a petition with NHTSA, requesting an

     investigation into 2002 and 2003 Lexus ES 300s, “alleging that [her] throttle control system

     malfunctioned on several occasions, one of which resulted in a crash.”

  54. In March 2004, NHTSA opened a wider probe into Lexus sedans after receiving another

     complaint “alleging that the throttle control system fails to properly control engine speed

     resulting in vehicle surge.”    NHTSA also notified Toyota that it was opening an

     investigation of unwanted acceleration and vehicle surge in 2002-2003 Camry and Solara

     models. Specifically, NHTSA investigated the following complaints from vehicle owners:

            Allegations of (A) an engine speed increase without the driver pressing on the

            accelerator pedal or, (B) the engine speed failing to decrease when the accelerator

            pedal was no longer being depressed – both circumstances requiring greater than

            expected brake pedal application force to control or stop the vehicle and where the

            brake system functioned normally.

  55. On June 3, 2004, NHTSA investigator Scott Yon sent an email to Christopher Santucci (a

     high-level Toyota employee in Technical and Regulatory Affairs) that shows a greater than

     400 percent difference in “Vehicle Speed” complaints between Camrys with manually

     controlled throttles and those with electronically controlled throttles. This statistically

     significant difference put Toyota on notice that its vehicles with ETCS had a defect that

     could potentially cause UA.

  56. On July 22, 2004, NHTSA closed its investigation into the Lexus sudden acceleration

     complaints (petition PE04-021) without formally identifying a defect, stating that “[a]
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     defect trend has not been identified at this time and further use of agency resources does

     not appear to be warranted.” Citing a lack of resources, NHTSA subsequently turned down

     two more requests from consumers to investigate the problem. Significantly, NHTSA

     conducted no testing of the integrity of the ETCS and did not review any records of

     Toyota’s test reports concerning the ETCS. Notably, NHTSA did not conduct any tests as

     to the efficacy of the braking system in an open-throttle condition.

  57. In May 2004, a forensic technologist and mechanical engineer examined a vehicle in New

     Jersey that had experienced a UA event. They prepared a report that concluded that the

     vehicle’s ETCS was not operating correctly. Toyota received the report on January 13,

     2005.

  58. In August 2005, NHTSA evaluated the Toyota Camry after reports of some “inappropriate

     and uncontrollable vehicle accelerations.”

  59. In November 2005, Toyota wrote to NHTSA and stated that a dealership-led review of 59

     owner claims regarding their Toyotas found “no evidence of a system or component

     failure” and stated that the “vehicles operated as designed.”

  60. In January 2006, NHTSA opened a second investigation into Toyota Camry models.

     NHTSA received questionnaires from Camry owners who reported hundreds of problems

     with acceleration and braking. After communicating with Toyota, NHTSA closed the

     investigation without identifying a specific defect and stated that the claims had

     “ambiguous significance.”

  61. In August 2006, NHTSA continued to receive more complaints about accelerator problems

     with the 2002-2006 Camry models.
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  62. In September 2006, NHTSA opened a third investigation into reported “engine surging”

     incidents with Toyota vehicles.     Toyota represented to NHTSA that there was no

     abnormality in the throttle control system, and instead blamed water damage. NHTSA

     closed this investigation without identifying a specific defect, citing “the need to best

     allocate limited administrative resources.”

  63. In March 2007, NHTSA launched a probe into the floor mats of Lexus models. In response,

     Toyota claimed that the “issue is not a safety concern.” On August 8, 2007, NHTSA’s

     Office of Defect Investigation (“ODI”) upgraded this preliminary evaluation to an

     engineering analysis to investigate UA in a target population of 98,454 model year 2007

     Lexus ES 350s. The Opening Resume for EA07-010 states, in part, as follows:

            [T]he agency has 40 complaints; eight crashes and 12 injuries. Complainants

            interviewed by ODI stated that they applied the throttle pedal to accelerate the

            vehicle then experienced unwanted acceleration after release. Subsequent (and

            sometimes repeated) applications of the brake pedal reduced acceleration but did

            not stop the vehicle. In some incidents drivers traveled significant distances (miles)

            at high vehicle speeds (greater than 90 mph) before the vehicle stopped (ODI notes

            that multiple brake applications with the throttle in an open position can deplete the

            brake system’s power [vacuum] assist reserve resulting in diminished braking).

  64. In September 2007, Toyota recalled 55,000 Camry and Lexus models under pressure from

     NHTSA due to floor mats that purportedly interfered with the accelerator pedal.

  65. In January 2008, NHTSA launched a probe into UA problems in Tacoma pickups after

     receiving notice of 478 incidents with 2004-2008 models. In response, Toyota told
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       NHTSA that an investigation was not warranted due to lack of evidence to support drivers’

       allegations.

  66. In August 2008, NHTSA closed its investigation of the Tacoma without specifically

       identifying a defect, despite hundreds of complaints. The Tacoma probe marked the eighth

       investigation into UA problems in Toyota vehicles since 2003. By August 2008, NHTSA

       had received more than 2,600 complaints regarding “run away” Toyota vehicles.

  67. Rather than provide appropriate repairs, Toyota often blamed drivers for UA incidents.

       Yet, when pressed, Toyota technicians have acknowledged the defects in Toyota vehicles,

       such as the experience described in this consumer e-mail, dated February 6, 2009:

              We just got a 2008 LE 4Cyl with the 5spd auto. Only had it two weeks. When

              driving 35-45mph, the tranny will shift up into 5th gear and then basically STAY

              there. As we approach a slight upward grade, the tachometer is stuck at 1200 RPM

              and the whole car shudders and vibrates as the engine “lugs” down. We find

              ourselves constantly playing with the gas pedal in order to FORCE the tranny to

              downshift. Took it to dealer. They......experienced same thing. They said it was

              ‘Normal for this model - at this time.’ They quietly told me they are getting other

              complaints and look forward to Toyota releasing new programming for the ECU.

  68. In April 2009, NHTSA received another petition for an investigation into Toyota vehicles

       for throttle-control problems unrelated to floor mat issues.

  D.          Officer Mark Saylor’s Tragic Accident and Resulting Worldwide Public
              Scrutiny, Congressional Probes, And Wider Recalls

  69. On August 28, 2009, California Highway Patrol officer Mark Saylor and his family were

       killed when the Toyota vehicle (Lexus ES350) he was operating accelerated out of control
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     to over 100 mph. In a chilling “911 call,” moments before the crash, a passenger said,

     “We’re in trouble. There’s no brakes.”

  70. In September 2009, NHTSA and Toyota issued consumer alerts, warning consumers to

     remove floor mats because of a potential to jam the accelerator, causing sudden unintended

     acceleration.

  71. In October 2009, Toyota continued receiving reports in the United States and Canada that

     pedals were sticking in certain models. Toyota then issued a floor mat recall on 4.2 million

     Toyota and Lexus vehicles, advising consumers to remove floor mats and place them in

     the trunk, and directing dealers to use zip ties to secure floor mats to avoid gas pedal

     interference.

  72. In November 2009

         a. Toyota expanded the floor mat recall by over a million vehicles, and issued a press

             release claiming that NHTSA found no defect in the vehicles. NHTSA publicly

             rebuked Toyota, calling Toyota’s press release “inaccurate” and “misleading,”

             noting that the floor mat recall was an “interim” measure and that it “does not

             correct the underlying defect.” Toyota publicly apologized for its inaccurate press

             release. Ultimately, Toyota included 5.3 million vehicles in the Floor Mat recall.

         b. News outlets continued uncovering evidence of widespread problems, and Toyota’s

             concealment of those problems. The Los Angeles Times reported that Toyota

             ignored more than 1,200 UA complaints over the preceding eight years. Toyota

             also issued another press release denying proliferating media reports that a problem

             existed with its ETCS.
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         c. Toyota instructed dealers to shorten the gas pedal so it would not interfere with

            floor mats.

  73. In December 2009, NHTSA opened an investigation into whether the electronic control

     modules in Corolla and Camry models caused them to stall without warning. It opened

     another investigation into the 2003 Sequoia SUV model for problems with the

     computerized vehicle stability control system.

  74. In January 2010:

         a. Toyota told NHTSA that some vehicles may have “an issue” with sticking

            accelerator pedals, independent of the floor mat issue (though some vehicles

            contained both defects). At NHTSA’s command, Toyota initially issued a recall

            for sticking accelerator pedals affecting 2.3 million vehicles. It subsequently

            expanded the “sticky pedal” recall to include a total of 3.4 million vehicles.

         b. United States Transportation Secretary Ray LaHood told a Chicago radio station

            that the government had asked Toyota to stop selling recalled vehicles.

         c. Toyota announced that a brake override software “fix” would be applied to its

            vehicles globally by 2011.

         d. On January 26, 2010, after ever-increasing adverse publicity, Toyota stopped

            selling its recalled models, stating that preventing the sale of the vehicles was

            “necessary until a remedy is finalized.” Then, approximately a week later, Toyota

            completely reversed course and began selling the defective vehicles.

  75. In February 2010:

         a. Transportation Secretary Ray LaHood testified before a Congressional panel

            cautioning drivers to seek repairs for sticking accelerators.
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          b. Kelly Blue Book said affected Toyota models were devalued as much as five

              percent. Edmunds stated that the average devaluation was between four and eight

              percent.

          c. Toyota admitted that there was a brake software problem in 2010 Prius Hybrids.

              Toyota later recalled the 2010 Prius, Lexus HS 250h and Camry Hybrids due to

              faulty brakes (437,000 vehicles worldwide).

  E.          Toyota’s Admitted Failure to Meet Consumers’ Expectations for Safety

  76. In October 2009, Akio Toyoda (President and CEO of Toyota Motor Corporation) issued

       a public apology to the Saylor family and every customer affected by the recall, admitting:

       “Customers bought our cars because they thought they were the safest but now we have

       given them cause for grave concern. I can’t begin to express my remorse.”

  77. Additionally, in his prepared testimony before the Committee on Oversight and

       Government Reform of the U.S. House of Representatives on February 24, 2010, Toyoda

       admitted that Toyota’s growth in recent years was “too quick,” and the company’s

       priorities of “first, safety; second, quality; third, volume” had become “confused.” Mr.

       Toyoda went on to apologize to American consumers, “I regret that this has resulted in the

       safety issues described in the recalls we face today, and I am deeply sorry for any accidents

       that Toyota drivers have experienced.”

  78. Yoshimi Inaba, President and Chief Executive Officer of Toyota Motor North America,

       Inc., likewise acknowledged that Toyota had failed its customers. Mr. Inaba testified in

       the Senate Sub-Committee hearings on the Toyota recalls as follows:

              In recent months we have not lived up to the high standard our customers and the

              public have come to expect from Toyota, despite our good faith efforts. As our
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                 president, Akio Toyoda, told members of Congress last week, we sincerely regret

                 our shortcomings have resulted in the issues associated with our recent recalls.

      79. Shinichi Sasaki, executive Vice President for Toyota Motor Corporation admitted before

         Congress that Toyota “did not listen to its consumers”:

                 How this issue came about is because there were many vehicle – excuse me – many

                 voices were sent to us from the customers, but we really did not listen to every one

                 of them very carefully, one by one. We should have really listened to them

                 carefully and rendered some technical analysis so that it would be connected to our

                 following product improvement.        However, the quality of this work or the

                 efficiency of our work or speed with which we worked had become sluggish, or

                 sort [sic] failed gradually, and this has come to a much larger issue.

II.       Toyota’s Purported Fixes Do Not Address the Root Causes of Unintended
          Acceleration.

      80. Despite the flurry of media attention, NHTSA activity and congressional scrutiny, Toyota

         has still not adequately addressed the root cause of UA.

      81. While sticky pedals and floor mats likely did contribute to some UA incidents, Toyota used

         these issues as a smoke screen to hide the electronic defects in their vehicles.

      82. Toyota never made any significant changes to improve the acceleration system and the

         ETCS, despite the availability of safe and inexpensive alternative designs and feasible

         modifications. Rather, Toyota has repeatedly stated to consumers, the media, its dealers,

         and Congress, that its vehicles’ electronic acceleration systems are not the cause of UA

         incidents.
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  83. Despite Toyota’s public position, evidence continues to mount that the recalls focused on

     limited mechanical issues are inadequate to prevent UA, and that the vehicles’ electronics

     cannot be ruled out as a likely cause of the incidents.

  84. As The New York Times reported on March 2, 2010, “an analysis of government

     documents shows that many Toyota Camrys built before 2007, which were not subject to

     recalls, have been linked to a comparable number of speed-control problems as recalled

     Camrys.” A study of Japan’s government records revealed a similar finding. As a result,

     the U.S. Department of Transportation has included pre-2007 Camrys in their broader

     investigation of the role that ETCS may be playing in these incidents.

  85. Further, affected vehicles that have been recalled and repaired continue to suffer UA

     incidents. On March 4, 2010, just months after Toyota issued two independent recalls

     related to UA, NHTSA revealed that it had received over 60 UA complaints in Toyota

     vehicles that had been repaired pursuant to the recalls. As the Los Angeles Times reported,

     the complaints included several crashes and at least three injuries. On March 17, 2010, the

     Associated Press reported that the number of post-recall incidents had reached over 100.

  86. The Camry findings and the post-recall incidents greatly undermine Toyota’s public

     position, and confirm that the ETCS is the likely source of UA.

  87. Indeed, Toyota admits that the recalls have not addressed the UA problem. When

     questioned before a Congressional panel, Toyota’s top U.S. sales executive, James Lentz,

     admitted that Toyota could not rule out electronics problems, and that the two recalls would

     “not totally” solve the problem. Among other potential causes, Mr. Lentz identified

     software problems, faulty cruise control, and engine revs caused by engaging the air

     conditioner.
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  88. Additionally, numerous independent experts have spoken out in recent months to challenge

     Toyota’s inexplicable confidence in its electronic systems.

  89. For example, David M. Cummings, executive vice president of the Kelly Technology

     Group in Santa Barbara, California, has 30 years’ experience in building computer systems

     embedded inside other devices, including nine years as a consultant for the Jet Propulsion

     Laboratory where he worked on the Mars Pathfinder spacecraft. In an opinion piece in The

     Los Angeles Times on March 12, 2010, Mr. Cummings dismissed Toyota’s repeated

     statements that its electronics could not be faulted and explained that there are “software

     bugs” that simply cannot be reproduced in a laboratory test environment.

  90. Toyota knew by 2007 that UA was often not traceable, meaning that failure could not be

     effectively ruled out. In an October 19, 2007 e-mail, Chris Tinto admitted: “[O]ne big

     problem is that no codes are thrown in the ECU so the allege [sic] failure (as far as we

     know) can not be documented or replicated.” The implications were that “the service tech

     therefore can’t fix anything and has no evidence that any problem exists.”

  91. The unpredictability of electronics and software is further highlighted by strange—and

     dangerous—incidents in affected vehicles that received a supposed software upgrade as

     part of the recall. As the Los Angeles Times summarized in a March 3, 2010 article:

             A 2007 Camry driver from Sherrill, New York, for example, said that since the

             repair, the car idles fast in reverse, cruise control does not disengage properly, and

             various check engine lights come on. The owner of a 2005 Avalon in Houston,

             meanwhile, said that following the recall service, his wife stepped on the gas and

             found that nothing happened, causing it to lose speed on the highway.
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  92. Toyota knows, or should know, that its electronics are not infallible. Indeed, software

     problems have arisen in other Toyota vehicles. On February 8, 2010, Toyota announced a

     voluntary safety recall on some of its models to update software in the vehicle’s anti-lock

     brake system (ABS), in response to braking problems experienced by drivers. This recall

     involves approximately 133,000 Model Year 2010 Prius vehicles and 14,550 Model Year

     2010 Lexus HS 250h vehicles.

  93. More generally, over the last two decades, various Toyota and Lexus vehicles have been

     recalled due to electronics and software defects that led to engine surging, engine racing,

     and unintended engagement of headlights and taillights, according to a Los Angeles Times,

     February 14, 2010 article. As far back as 2003, Toyota had to “recalibrate” the Electronic

     Control Modules in certain 2003 Camrys due to engine “surging.”

  94. Further, Toyota has known for some time that the inherent complexity and unpredictability

     of vehicle electronics and software counsels the use of a properly designed brake-to-idle

     override system that allows drivers to bring a vehicle under control in the event of a UA

     incident. According to documents presented to Congress, and as reported in The Los

     Angeles Times, in 2007, NHTSA asked Toyota to consider installing software to prevent

     sudden acceleration in its vehicles after receiving yet another round of UA complaints in

     Toyota vehicles.

  95. In an internal August 2007 e-mail, entitled “UPDATE on ES 350 investigation,” Chris

     Santucci, a Toyota manager, stated that he and NHTSA investigators discussed fail-safe

     mechanisms used by other vehicle manufacturers to protect against unintended

     acceleration, including “[u]sing ETC to shut down throttle control” and “cutting off the

     throttle when the brakes are applied.” Mr. Santucci also noted, “Jeff [Quandt, Chief,
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     Vehicle Controls Division, Office of Defects Investigation] mentioned that another

     manufacturer allows the engine to be shut off if you press the ignition button repeatedly.”

  96. Further, a September 1, 2009 email “[t]o all concerned staff” from Koji Sakakibara shows

     that Toyota was aware of the UA problem back in 2007, but opted not to develop additional

     safety measures at that time:

             To all concerned staff,

             The following information has been received from TMSPQSS Public Affairs Group

             regarding the above (America ES350 article...addition #2).(Please see photos at the

             bottom of this mail.) Within America, there are 196 articles on Google News, so

             the mass media is interested.

             - During the floor mat sticking issue of 2007, TMS suggested that there should

             be “a fail safe option similar to that used by other companies to prevent

             unintended acceleration”. I remember being told by the accelerator pedal section

             Project General Manager at the time (Mr. M) that “This kind of system will be

             investigated by Toyota, not by Body Engineering Div”.Also, that information

             concerning the sequential inclusion of a fail safe system would be given by Toyota

             to NHTSA when Toyota was invited in 2008. (The NHTSA knows that Audi has

             adopted a system that closes the throttle when the brakes are applied and that

             GM will also introduce such a system.)

             ==>In light of the information that “2 minutes before the crash an occupant made

             a call to 911 stating that the accelerator pedal was stuck and the vehicle would not

             stop”, I think that Body Engineering Div. should act proactively first (investigate

             issues such as whether the accelerator assay structure is the cause, how to secure
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             the floor mats, the timing for introducing shape improvements). - Furthermore,

             taking into account the circumstances that “in this event a police officer and his

             entire family including his child died”, TMS-PQSS Public Affairs Group thinks

             that “the NHTSA and the USA public already hold very harsh opinions in regards

             to Toyota”. (As I think you know, in some cases in the USA “killing a police officer

             means the death penalty”.)

             - In light of the above, it would not be an exaggeration to say that even more than

             the nuance of the information passed from Customer Quality Engineering Div.

             External Relations Dept. to Body Engineering Div, “the NHTSA is furious over

             Toyota’s handling of things, including the previous Tacoma and ES issues.

             Considering the importance of this matter, any correspondence regarding this issue

             including the reply from Body Engineering, no matter how small, must be sent to

             the Customer Quality Engineering Div. General Manager and the Customer Quality

             Engineering Div. External Relations Dept. General Manager. (If possible, please

             exchange information with the Customer Quality Engineering Div. rather than

             replying to me.)

     (emphasis added).

  97. Not only did Toyota decline to develop additional safety measures, but its officials actually

     bragged in July 2009 about avoiding a costly whole-scale recall related to sudden

     acceleration complaints. According to an internal presentation from Toyota’s Washington

     office, a limited recall saved Toyota more than $100 million. The document notes that

     Toyota’s safety officials had saved the company significant expense by limiting the recall

     to 55,000 floor mats in 2007. “Negotiated ‘equipment’ recall on Camry/ES re SA (Sudden
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     Acceleration); saved $100M+, w/ no defect found,” the document said. This internal

     document is further evidence that Toyota knew about the UA problem and nonetheless

     decided to avoid a recall of the affected vehicles, in conscious disregard for the safety of

     consumers, including Plaintiff.

  98. After profiting from the inadequate 2007 floor mat recall, and in response to increasing

     pressure from NHTSA, Toyota conducted an internal feasibility study of brake override

     technology in 2008. The study was prompted by a memo from a Toyota employee entitled

     “Unwanted Acceleration Investigations on Toyota Vehicles.” In light of “increasing

     scrutiny” from NHTSA, the memo requested that Toyota Motor Corporation (in Japan)

     conduct a feasibility study evaluating the use of the electronic throttle control system “to

     reduce throttle opening/engine power” as a way to eliminate sudden acceleration. The

     memo’s unidentified author noted that simultaneous application of both pedals during an

     unintended acceleration event “should be easily detectable by the engine ECU.” Toyota

     ultimately declined to install this important safety feature in any of its vehicles at that time.

  99. Unable to hide the risks imposed by its ETCS any longer, Toyota has announced a plan to

     put brake overrides in new vehicles by the end of 2010. Additionally, Toyota is allegedly

     installing the system on some of the following recalled vehicles: 2005-2010 Toyota

     Tacoma, 2009-2010 Venza, 2008-2010 Sequoia, 2007-2010 Camry, 2005-2010 Avalon,

     2007-2010 Lexus ES 350, 2006-2010 Lexus IS 350, and 2006-2010 Lexus IS 250. As

     Toyota stated in connection with this second recall:

             In addition, as a separate measure independent of the vehicle-based remedy, Toyota

             will install a brake override system into the involved Camry, Avalon, and Lexus

             ES 350, IS 350 and IS 250 models as an extra measure of confidence. This system
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                  cuts engine power in case of simultaneous application of both the accelerator pedal

                  and brake pedals.

       100. Yet, Toyota has failed to install this safety feature on all the recalled vehicles, let alone

            the larger universe of affected vehicles.

       101. Not only has Toyota denied this important safeguard to millions of its customers, but the

            failsafe it has installed on select vehicles appears to be ineffective and inadequately

            tested. As noted above, drivers have reported more than 100 UA incidents in vehicles

            successfully recalled and repaired. Frighteningly, these new complaints involve the

            Avalon, Camry, and Matrix – all of which allegedly received brake override software as

            part of the recall, according to Toyota.

III.        Toyota’s Violation of the Vehicle Safety Act And “Secret Recall” Scheme

       102. Under the Motor Vehicle Safety Act (the “Safety Act”), 49 U.S.C. § 30101 et seq., and

            the Transportation Recall Enhancement, Accountability, and Documentation Act (the

            “Tread Act”), 49 U.S.C. § 30170, Toyota is required to recall and repair motor vehicle

            defects related to safety.

       103. If a manufacturer learns that a vehicle contains a defect and that defect is related to motor

            vehicle safety, the manufacturer must inform the Secretary of Transportation. 49 U.S.C.

            § 30118(c)(1) & (2).

       104. The Safety Act requires that manufacturers inform NHTSA within five (5) working days

            of discovering “a defect in a vehicle or item of equipment has been determined to be

            safety related, or a noncompliance with a motor vehicle safety standard has been

            determined to exist.” The report to NHTSA must immediately include the following:

              a. The manufacturer’s name;
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         b. The identification of the vehicles or equipment containing the defect, including:

                   ▪ The make, line, model year and years of manufacturing;

                   ▪ A description of the basis for the determination of the recall population;

                   ▪ How those vehicles differ from similar vehicles that the manufacturer

                     excluded from the recall;

                   ▪ A description of the defect.

             o The manufacturer must also inform NHTSA, as soon as possible, regarding:

                     ▪   The total number of vehicles or equipment potentially containing the

                         defect;

                     ▪   The percentage of vehicles estimated to contain the defect;

                     ▪   A chronology of all principle events that were the basis for the

                         determination that the defect related to motor vehicle safety, including

                         a summary of all warranty claims, field or service reports, and other

                         information, with their dates of receipt;

                     ▪   A description of the plan to remedy the defect.

  105. If the Secretary of Transportation determines that the vehicle is defective, it will require

       the manufacturer to notify the owners, purchasers and dealers of the defect and require it

       to remedy the defect or noncompliance. 49 U.S.C. § 30118(b)(2)(A) & (B).

  106. As described in detail above, since at least 2002, Defendants have known about safety-

       related UA defects in their vehicles.

  107. Plaintiff alleges upon information and belief that Defendants have known for many years,

       but have not disclosed to NHTSA or the public, how to fix UA defects.
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      108. Plaintiff alleges upon information and belief that Defendants have silently been installing

           brake override software in vehicles brought in for service unrelated to UA, or when

           performing recalls on non-ETC parts, such as pedals or floor mats.

      109. Defendants never informed NHTSA about known electronic defects in their throttle

           control system, nor did they give NHTSA an opportunity to evaluate the brake override

           remedy. Consequently, the public, including Plaintiff, never received any notice of either

           the nature of the electronic UA defect nor Defendants’ proposed fix.

IV.        Toyota’s Concealment of The Defects

      110. As demonstrated above, Toyota was aware of the defective nature of the acceleration

           control and throttle system in its vehicles since at least 2002, but failed to adequately and

           accurately disclose these facts to Plaintiff, the public, and NHTSA. Toyota concealed

           these facts and continued to make statements touting the reliability and safety of its

           vehicles, including the subject vehicles with dangerous defects that Toyota knew had

           caused and were likely to cause further serious injuries and deaths.

      A.         Toyota’s Failure to Disclose That Certain Vehicles Had Electronics Problems
                 That Caused Unintended Acceleration

      111. Toyota has consistently denied any electronic causes of UA, while quietly issuing

           bulletins to fix problems with its electronic throttles.

      112. Between August 2002 and May 2003, Toyota issued to its dealers three “Technical

           Service Bulletins,” which acknowledged surging problems in certain Camry vehicles.

           Two of these bulletins advised dealers that Toyota made repairs to the Engine Control

           Model (an electronic system) to correct the problem. Toyota never disclosed the

           existence or content of these bulletins to NHTSA or the public.
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  B.         Toyota’s Concealment of Its Own Technicians’ Ability to Replicate and
             Confirm Unintended Acceleration Events

  113. During the relevant period, Toyota failed to disclose to consumers how its own

       technicians were continuing to replicate UA events.

  114. In April 2003, Toyota dealt internally with an “unwanted acceleration” incident during

       production testing of the Sienna model. Toyota blamed a “faulty trim panel clip,”

       deemed it an isolated incident, and did not make such information available to NHTSA

       until five years later.

  115. As discussed above, in a May 5, 2003 “Field Technical Report, Toyota admitted that

       “[s]udden acceleration against our intention,” was an “extremely serious problem for

       customers.”     A Toyota technician internally reported an “unwanted acceleration”

       incident: “We found miss-synchronism between engine speeds and throttle position

       movement. . . . Even after replacement of those parts, this problem remains.” The author

       requested immediate action due to the “extremely dangerous problem” and continued:

       “[W]e are also much afraid of frequency of this problem in near future.”

  116. Between 2006 and 2010, two Toyota technicians in Hong Kong witnessed eighteen

       incidents of UA. These incidents, documented in Field Technical Reports (“FTR”), show

       that Toyota knew of the frequency of UA in their vehicles and that its own dealers

       recognized this and advised Toyota that it was urgent to investigate.

  117. On June 8, 2007, in a FTR, one of the Toyota technicians in Hong Kong reportedly

       experienced UA during routine maintenance of a vehicle at a Lexus Service Center. The

       technician stated that “[a]lthough the accelerator pedal had been released, the engine still

       maintained at high speed (over 5500 rpm) and it went on to the red zone.” He goes on to

       describe how “[t]he accelerator pedal was inspected, but no abnormality was found, no
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       DTC was found and the carpet is genuine Lexus parts and no aftermarket carpet was

       fitted.” The technician “strongly request[ed] TMC to investigate this case in a very top

       priority, since the case is highly related to vehicle safety and there is a highly potential

       danger [sic] of severe traffic accident.” This incident is the third of its kind within eight

       months. Over the course of three years, the same two technicians report fifteen more

       cases to Toyota.

  118. In another FTR from one of the technicians in Hong Kong, dated September 28, 2007, a

       similar UA event was reported with a targeted investigation of the ETCS. There were no

       DTCs recorded and the root cause was unknown. The resulting report by Denso

       Corporation, the manufacturer of the accelerator pedals in many of the subject vehicles,

       confirmed that they could not find any abnormalities on any accelerator components. In

       the corresponding reply from TMC, dated April 21, 2008, Toyota acknowledged that this

       was an issue that needed to be monitored.

  119. Additionally, in a December 12, 2008 Field Technical Report regarding a UA event, a

       technician stated: “After traveling 20-30 feet the vehicle exhibited a slight hesitation then

       began to accelerate on its own. Engine speed was estimated to have gone from 1500 rpm

       to 5500 rpm at the time of the occurrence...Probable Cause =Unknown.” Toyota hid

       these reports and continued to deny that UA existed.

  C.        Toyota’s Attempts to Deliberately Frustrate Government Investigations and
            Conceal Information from The Public and NHTSA Regarding Unintended
            Acceleration Problems

  120. Toyota successfully delayed and narrowed NHTSA investigations through, in part, a

       cozy relationship between NHTSA’s designated Toyota investigator, Scott Yon, and

       Toyota executives, some of whom were former NHTSA employees.
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  121. In March 2004, NHTSA notified Toyota that it was opening an investigation of unwanted

       acceleration and vehicle surge in Lexus sedans and 20022003 Camry and Solara models.

       The investigation was expected to cover more than one million 2002-2003 Camry, Camry

       Solara, and Lexus ES 300 vehicles, as the agency had received 37 complaints and reports

       of 30 crashes resulting in five injuries. Toyota successfully narrowed the investigation to

       eleven incidents involving five crashes.

  122. At the outset of this March 2004 investigation, NHTSA asked Toyota for information on

       similar incidents including the number of complaints, field reports, crash reports,

       property damage claims and lawsuits. The decision on how to respond to NHTSA

       emanated from a group of Toyota employees, including Christopher Tinto and

       Christopher Santucci in Washington, D.C., as well as others from the Product Quality

       and Service Support group in Torrance, California. The scope of NHTSA’s information

       request became the subject of negotiations between Christopher Tinto and Christopher

       Santucci of Toyota and NHTSA representatives, with the result that certain relevant

       categories of incidents were excluded from Toyota’s reporting of events.

  123. In its response to NHTSA’s 2004 information request, Toyota denied that a defect

       existed, stated that no defect trend had emerged, and that its ETCS could not fail in ways

       its engineers had not already perceived. Toyota reported 123 complaints that it said “may

       relate to the alleged defect.” Toyota excluded from its response, however, the following

       relevant categories of complaints, among others:

            (1) an incident alleging uncontrollable acceleration that occurred for a long

                duration;
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            (2) an incident in which the customer alleged that he could not control a vehicle by

                applying the brake; and

            (3) an incident alleging unintended acceleration occurred when moving the shift

                lever to the reverse or the drive position.

  124. Toyota thus concealed from NHTSA and the public an entire universe of potentially

       relevant customer complaints.

  125. Toyota also failed to disclose expert reports concerning ETCS failure. As discussed

       above, in May 2004, a forensic technologist and mechanical engineer examined a vehicle

       in New Jersey that had experienced a UA event. Their report concluded that the vehicle’s

       ETCS was not operating properly. Toyota received the report on January 13, 2005, but

       did not disclose the results to NHTSA.

  126. Internal documents show that Toyota management wanted to avoid NHTSA

       investigations. For example, in September 2006, when ODI opened Defect Petition

       DP06-003 to investigate incidents relating to vehicle surging in 2002-2006 Camry and

       Camry Solara vehicles, Chris Santucci wrote to colleagues: “Hopefully, this is just an

       exercise that NHTSA needs to go through to meet its obligations to the petitioner.

       Hopefully, they will not grant the petition and open another investigation.”

  127. Moreover, Toyota leadership sought to avoid any tough questions from NHTSA

       regarding ETCS. In a February 27, 2007 e-mail to Christopher Santucci, Michiteru Kato

       wrote that he had decided against sending his most knowledgeable ECU engineer to an

       ECU demonstration being conducted for NHTSA to avoid questions regarding ECU

       failures: “. . . I thought that 3 guys from TMS is too many (two at most), and if the
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       engineer who knows the failures well attends the meeting, NHTSA will ask a bunch of

       questions about the ECU. (I want to avoid such situation).”

  128. On March 2007, Toyota attempted to prevent NHTSA from opening an investigation in

       2007 Lexus 350 vehicles, offering to send a letter to owners “reminding them not to

       install all weather mats on top of existing mats.” Acknowledging the potential harm to

       Toyota’s bottom line, Chris Tinto wrote, “NHTSA feels that they have too many

       complaints on this one vehicle to drop the issue; The results of a stuck throttle are

       ‘catastrophic.’”

  129. Toyota also sought to keep information from the public regarding UA. For example, in

       December 2005, Toyota sent letters to owners in connection with the NHTSA IS 250 All

       Weather Drive investigation. An e-mail from Toyota employee George Marino reveals

       that Toyota Motor Company purposely removed any reference to speed control from the

       letters. Marino wrote, “They pulled out the ‘vehicle speed control’ part. NHTSA may

       come back, but TMC wanted to try.”

  130. Further, Toyota never fully disclosed to the regulators the actual numbers of customer

       reports of UA events in the various Toyota models under investigation that the company

       had received. In fact, Toyota disclosed that it had received only 1,008 such complaints.

       Three years later, however, Toyota would be required to disclose to Congressional

       investigators that it had received 37,900 complaints potentially relating to sudden

       acceleration in defective vehicles from January 1, 2000 through January 27, 2010.

  D.        Toyota’s Use of The Floor Mat and Sticky Pedal Recalls as A Smoke Screen to
            Hide ETCS Defects

  131. Given the “potentially catastrophic” effects of an ETCS recall, Toyota tried to focus

       attention instead on “mechanical” problems, like floor mats and sticky pedals. In an
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       email dated April 2, 2007, George Morino urged others within Toyota to re-frame the

       investigation as an “All Weather Floor Mat issue,” and carefully eliminated reference to

       the much broader and more alarming issue of unintended acceleration:

             Sorry we had a last minute change to the Q&A. Please utilize this revised version

             of the Statement and Q&A. The issue has been posted on the NHTSA website.

             Sorry!

             [Old]

             NHTSA has received five consumer complaints regarding

             unintended throttle control in the subject vehicles.

             [New]

             NHTSA received five consumer complaints where the All Weather Floor Mat may

             have interfered with the accelerator pedal operation.

  132. A September 14, 2007 email from Chris Tinto demonstrates that internally, Toyota

       executives were pleased that NHTSA had limited the ES350 unintended acceleration

       issue to a “floor mat” recall, and that this limitation saved the company “upwards of one

       hundred million dollars:”

             Of note, NHTSA was beginning to look at vehicle design parameters as being a

             culprit, focusing on the accelerator pedal geometry coupled with the push button

             “off” switch. We estimate that had the agency instead pushed hard for recall of the

             throttle pedal assembly (for instance), we would be looking at upwards of $100M

             + in unnecessary cost.

  133. In an internal Toyota PowerPoint presentation by Chris Tinto dated January 2008, Toyota

       characterized the Camry and Lexus ES floor mat investigation as a “difficult issue” that
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       it “ha[d] been quite successful in mediating.” The presentation went on to note that such

       “mediations” were “becoming increasingly challenging” and that “despite the fact that

       we rigorously defend our products through good negotiation and analysis, we have a less

       defensible product.”

  134. Further, Toyota continued to promote the floor mat recalls even though it knew that floor

       mat interference could not alone explain the propensity of certain makes and models to

       experience UA. As of September 2007, Toyota executives internally acknowledged that

       that “floor mat interference is possible in any vehicle with any combination of floor

       mats.”

  E.         Toyota’s Agreement to Pay A $16.375 Million Fine for Hiding Safety Defects

  135. On April 5, 2010, NHTSA informed Toyota in a letter that it was imposing a record

       $16.375 million fine for hiding safety defects related to sudden acceleration in 2.3 million

       vehicles. Under federal law, automakers are required to disclose defects to NHTSA

       within five business days. Yet, Toyota had failed to notify NHTSA for at least four

       months after learning that the accelerator pedals in some of its vehicles could stick and

       cause UA. In its April 5th letter, NHTSA noted how Toyota had sent instructions to its

       European operations in September 2009 explaining how to fix sticky accelerator pedals,

       but decided not to provide the same instructions to U.S. dealers and government

       regulators. The NHTSA letter indicated that Toyota may have known about the UA

       defects for at least three years.

  136. On April 19, 2010, Toyota agreed to pay the fine. That same day, NHTSA Secretary Ray

       LaHood released a statement saying, “By failing to report known safety problems as it is

       required to do under the law, Toyota put consumers at risk.”
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  F.            Toyota Executives’ Successful Concealment of The Defects Described
                Internally as A “Win” For the Company

  137. In May 5, 2009 Chris Santucci wrote an e-mail to Takeharu Nishida, a Toyota engineer,

           expressing pleasure that NHTSA would not ask Toyota to disclose all reports related to

           throttle issues in its pending investigation: “They [NHTSA] are struggling with sending

           an IR letter, because they shouldn’t ask us about floor mat issues because the petitioner

           contends that NHTSA did not investigate throttle issues other than floor mat-related. So

           they should ask us for non-floor mat related reports, right? But they are concerned that

           if they ask for other reports, they will have many reports that just cannot be explained.

           And since they do not think that they can explain them, they don’t really want them.

           Does that make sense? I think it is good news for Toyota.”

  138. Toyota took the same attitude toward the 2007 Floor Mat recall in a presentation dated

           July 6, 2009. Toyota’s lead executive in American Operations, Yoshi Inaba, described

           as a “win” the fact that Toyota saved $100 million dollars by negotiating an “equipment”

           recall rather than some other alternative safety measure to address the sudden

           acceleration issue: “Wins for Toyota – Safety Group . . . Negotiated ‘equipment’ recall

           on Camry/ES re: SA, saved $100M+, w/ no defect found.” Toyota knew that it had saved

           millions of dollars through concealing the known potential for UA in its vehicles.

  G.            Toyota’s Concealment of Unintended Acceleration Defects and Incidents to
                Avoid The “Global” Ramifications of Disclosure

  139. An internal PowerPoint reveals that Toyota knew about recurring issues with UA. A

           slide entitled, “Key Safety Issues” included the following:

       •    ‘Sudden Acceleration’ on ES/Camry, Tacoma, LS, etc.

       •    Recurring issue, PL/Design Implications.
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  140. A September 2009 Toyota internal document demonstrates how “global ramifications,”

       rather than safety dictated Toyota’s position with respect to “vehicle defect:”

             TMC on the other hand will most likely not easily budge from their position that

             there is no vehicle defect. Especially considering the global ramifications. In

             addition, since no one of any rank (VP or higher) at TMS has communicated the

             significance and impact of this issue, TMC may feel that we can weather an

             investigation and additional media coverage.

  141. On January 16, 2010, Irving Miller, a Toyota Executive, admitted “we need to come

       clean” about acceleration problems: “I hate to break this to you but WE HAVE a tendency

       for MECHANICAL failure in accelerator pedals of a certain manufacturer on certain

       models. We are not protecting our customers by keeping this quiet. The time to hide on

       this one is over. We need to come clean and I believe that Jim Lentz and Yoshi are on

       the way to DC for meetings with NHTSA to discuss options...We better just hope that

       they can get NHTSA to work with us in coming with a workable solution that does not

       put us out of business.” Toyota knew about this mechanical tendency for failure for years

       and still has not properly disclosed it.

  H.         Toyota’s Secret Recall Scheme

  142. As discussed at length above, Defendants have engaged in a “secret recall” scheme to

       keep concealed a known and identified defect and to permit dangerous vehicles to remain

       on the road, and to avoid the cost of recalling and repairing the unsafe and defective

       vehicles.

  143. Through this scheme, Defendants have been silently repairing defects that they continue

       to deny exist, keeping critical information from NHTSA and the public.
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  I.         Toyota’s Repeated Promises of Safety, Denial of The Defects, And Accusations
             Against Victims

  144. In a June 19, 2004 letter to NHTSA, Toyota falsely stated that its ETCS contained a built-

       in redundancy to prevent acceleration, and that in the event of sudden acceleration the

       “vehicle brakes would have restrained vehicle motion.” Toyota maintained this position

       for years, even though it knew that Toyota-manufactured vehicles can and do experience

       sudden unintended acceleration and that application of the brakes has failed to restrain

       vehicle motion.

  145. Toyota consistently assured NHTSA and the public that the subject vehicles were not

       defective. For instance, in August 2005, NHTSA opened Defect Petition DP05-002 to

       investigate a consumer’s claims relating to unintended acceleration in the 2002 Camry.

       Scott Yon again was assigned as NHTSA’s investigator. The target vehicle population

       was 1,950,577 Model Year 2002-2005 Camrys and Lexus ES models. After receiving

       the petition and reviewing the underlying complaints, Toyota concluded:

             [T]here is no factor or trend indicating that a vehicle or component defect exists.

             Toyota believes that this Defect petition to be similar to other, prior petitions and

             investigations into mechanical throttle controls. Toyota has found no evidence that

             differentiates that consumers alleging vehicles equipped with electronic throttle

             controls can suddenly accelerate when compared to those equipped with

             mechanical throttle controls. Toyota has not found any evidence on the subject

             vehicles of brake failure, let alone brake failure concurrent with ETC failure.

  146. Throughout the relevant period, Toyota discounted its customer’s experience with UA.

       For example, on September 22, 2005, Carol Hargrave of TMS’ Customer Relations
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      Department wrote the following in a letter to a concerned Lexus owner who had

      complained to Toyota about her experiences of unintended acceleration:

        a. It is our understanding that you reported that you stepped on the brake pedal and

           the vehicle accelerated and that this has happened several other times.

        b. As you are aware your vehicle was inspected in regards to your concerns with the

           brakes and unintended acceleration. Your concerns could not be duplicated. The

           throttle body was inspected and there was no binding and the cable operated freely.

           The vehicle was test driven and the brakes were functioning properly. There were

           no codes to indicate any type of failure of the system.

        c. It is virtually impossible for this type of incident to happen. The brakes and the

           throttle are two totally separate systems and both would have to fail at exactly the

           same time. The brakes will always over ride the throttle.”

        (Emphasis added.)

  147. In October 2009, NHTSA announced NHTSA Campaign ID Number 09V388000

      regarding the pedal entrapment defect, and the related Toyota Safety Recall 90L

      (Potential Floor Mat Interference with Accelerator Pedal) for certain model year 2004-

      2010 passenger vehicles, stating that:

           The accelerator pedal can get stuck in the wide open position due to its being

           trapped by an unsecured or incompatible driver's floor mat.

           A stuck open accelerator pedal may result in very high vehicle speeds and make it

           difficult to stop the vehicle, which could cause a crash, serious injury or death.

  148. On November 25, 2009, Toyota Motor North America, Inc. filed an amended defect

      report with NHTSA for Toyota Safety Recall 90L, stating that:
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                Dealers will modify the accelerator pedal and, on certain vehicles, alter the shape

                of the floor surface under the pedal. These changes address the risk of pedal

                entrapment due to interference with the floor mat. Redesigned accelerator pedals

                will become available in April 2010 and dealers will replace any modified pedal

                with the new pedal if desired. Also, dealers will replace any genuine Toyota or

                Lexus all-weather floor mats with redesigned all-weather floor mats, or repurchase

                the previous mats from owners who do not want the new ones.

                Additionally, software modifications will be installed on Camry, Avalon and Lexus

                ES 350, IS 350 and IS 250 models that will ensure that the brake overrides the

                accelerator in the event both brake and accelerator pedals are applied.

V.        Facts of the Crash

     149. Prior to the subject incident, Plaintiff purchased the 2015 Toyota Texas, for the purpose

         of safe and reliable transportation.

     150. On August 13, 2021, at approximately 10:39 p.m., seventeen-year-old ADRIAN

          BARRAGAN CASTELLANOS was on his way home from his evening job when the

          subject vehicle suddenly and unexpectedly accelerated to dangerously high speeds.

          ADRIAN BARRAGAN CASTELLANOS was unable to control the rogue vehicle and

          it travelled off the roadway and collided with a tree.          ADRIAN BARRAGAN

          CASTELLANOS did not survive the crash resulting in survival damages to his estate

          and wrongful death damages to SONIA BARRAGAN

                                     CLAIMS FOR RELIEF

                                  FIRST CLAIM FOR RELIEF

                                                Negligence
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  169. Plaintiff incorporates by reference and realleges all paragraphs previously alleged

       herein.

  170. At all times herein mentioned, Defendants Toyota Motor North America, Inc., Toyota

       Motor Engineering & Manufacturing North America, Inc., Toyota Motor Sales, U.S.A.,

       Inc., Toyota Motor Corporation, and DOES 1 through 10, inclusive (“Defendants”),

       designed, manufactured, assembled, analyzed, recommended, merchandised,

       advertised, promoted, distributed, supplied, and sold to distributors and retailers for

       sale, the subject vehicle, and/or its component parts.

  171. Defendants owed Plaintiff a duty to exercise reasonable care in the design, testing,

       manufacture, assembly, sale, distribution, and servicing of the subject vehicle,

       including a duty to ensure that the subject vehicle did not cause Plaintiff, other users,

       bystanders, or the public, unnecessary injuries, or deaths.

  172. Defendants knew or should have known that the subject vehicle is defectively designed

       and inherently dangerous and has a propensity to suddenly accelerate, lose control, and

       cause injuries.

  173. Defendants knew or should have known that the subject vehicle was defectively

       designed and/or manufactured and was therefore prone to failure under normal driving

       conditions, potentially causing injuries and/or deaths.

  174. Defendants failed to exercise ordinary care and breached their duties by, among other

       things:

             a. Failure to use due care in the manufacture, distribution, design, sale, testing,

                 and servicing of the subject vehicle and its component parts in order to avoid

                 the aforementioned risks to individuals;
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             b. Failure to provide adequate warning of the sudden acceleration problem and its

                 propensity to cause and/or contribute to an accident;

             c. Failure to incorporate within the vehicle and its design reasonable safeguards

                 and protections against sudden acceleration and the consequences thereof;

             d. Failure to make timely correction to the design of the subject vehicle to correct

                 the sudden acceleration problems;

             e. Failure to adequately identify and mitigate the hazards associated with sudden

                 unintended acceleration in accordance with good engineering practices and

                 other ways; and,

             f. Were otherwise careless or negligent.

  175. The aforementioned negligent acts and omissions of Defendants were the direct and

       proximate cause of Plaintiff’s damages.

  176. Plaintiff is, therefore, entitled to damages in an amount to be proven at trial, together

       with interest thereon and costs.

  177. WHEREFORE, Plaintiff prays judgment against Defendants, and each of them, as

       hereinafter set forth.

                                SECOND CLAIM FOR RELIEF

                           Strict Products Liability: Design Defect

  178. Plaintiff incorporates by reference and realleges all paragraphs previously alleged

       herein.

  179. Defendants, and each of them, designed, engineered, developed, manufactured,

       fabricated, assembled, equipped, tested or failed to test, inspected or failed to inspect,

       repaired, retrofit or failed to retrofit, failed to recall, labeled, advertised, promoted,
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       marketed, supplied, distributed, wholesaled, and sold the subject vehicle and its

       component parts and constituents, which was intended by the Defendants, and each of

       them, to be used for to be used as a passenger vehicle and for other related activities.

  180. Defendants, and each of them, knew that said vehicle was to be purchased and used

       without inspection for defects by Plaintiff and the general public.

  181. The subject vehicle was unsafe for its intended use by reason of defects in its

       manufacture, design, testing, components and constituents, so that it would not safely

       serve its purpose, but would instead expose the users of said product to serious injuries.

  182. Defendants designed the subject vehicle defectively, causing it to fail to perform as

       safely as an ordinary consumer would expect when used in an intended or reasonably

       foreseeable manner.

  183. The risks inherent in the design of the subject vehicle outweigh significantly any

       benefits of such design.

  184. Plaintiff was not aware of the aforementioned defects at any time prior to recent

       revelations regarding problems with Toyota vehicles.

  185. As a legal and proximate result of the aforementioned defects of the subject vehicle, the

       Plaintiff sustained the injuries and damages set forth herein while Plaintiff was using

       the subject vehicle in a reasonably foreseeable manner.

  186. Plaintiff is, therefore, entitled to damages in an amount to be proven at the time of trial.

  187. WHEREFORE, Plaintiff prays judgment against Defendants, and each of them, as

       hereinafter set forth.

                                THIRD CLAIM FOR RELIEF

                         Strict Product Liability - Failure to Warn
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  188. Plaintiff hereby incorporates by reference and realleges all paragraphs previously

       alleged herein.

  189. Defendants, and each of them, knew that the subject vehicle, and its component parts,

       would be purchased and used without inspection for defects in the design of the vehicle.

  190. The subject vehicle was defective when it left the control of each of these Defendants.

  191. At the time of the subject vehicle’s design, manufacture, and sale, and continuing up to

       the time of Plaintiff’s injury, Defendants knew or should have known of the substantial

       dangers involved in the reasonably foreseeable use of these vehicles, whose defective

       design, manufacturing, and lack of sufficient warnings caused them to have an

       unreasonably dangerous propensity to suffer from sudden unintended acceleration and

       thereby cause injuries

  192. Defendants knew that these substantial dangers are not readily recognizable to an

       ordinary consumer and that consumers would purchase and use these products without

       inspection.

  193. At all relevant times, Defendants failed to provide adequate warnings, instructions,

       guidelines, or admonitions to members of the consuming public, including Plaintiff, of

       the defects, which Defendants knew, or in the exercise of reasonable care should have

       known, to have existed in the subject vehicle, and its component parts.

  194. At the time of Plaintiff’s injuries, the subject vehicle was being used in the manner

       intended by Defendants, and in a manner that was reasonably foreseeable by

       Defendants as involving substantial danger that was not readily apparent to its users.
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  195. Plaintiff’s damages were the legal and proximate result of Defendants’ failure to provide

       adequate warnings. Defendants owed Plaintiff a duty in designing, manufacturing,

       warning about, and distributing the subject vehicle.

  196. WHEREFORE, Plaintiff pray judgment against Defendants, and each of them, as

       hereinafter set forth.

                 ADDITIONAL ALLEGATIONS REGARDING CLAIM

                                FOR PUNITIVE DAMAGES

  221. Plaintiff incorporates by reference and realleges all paragraphs previously alleged herein.

  222. At all times herein referenced, officers, directors, and managing agents of Toyota knew,

       and were aware, that the subject vehicles were defective and dangerous.

  223. At all times herein referenced, officers, directors, and managing agents of Toyota knew,

       and were aware, that numerous people had been injured or killed by Toyota vehicles.

  224. Defendants designed, engineered, developed, manufactured, fabricated, assembled,

       equipped, tested, or failed to test, inspected or failed to inspect, repaired, retrofit or failed

       to retrofit, failed to recall, labeled, advertised, promoted, marketed, supplied, distributed,

       wholesaled, and sold the subject vehicle, and its component parts, a product which said

       Defendants knew to be dangerous and unsafe for the purpose for which they intended it

       to be used, namely, as a passenger vehicle.

  225. At all times herein mentioned, prior to and at the time that Defendants sold the subject

       vehicle to Plaintiff, and prior to the time that said product was used, the Defendants knew,

       or should have known, that the subject vehicle, and its component parts, was defectively

       designed and manufactured, that it had extremely dangerous properties and defects, and

       that it had defects which would cause serious injuries and damage to users of said
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       product, thereby threatening the life and health of the users. Further, at all times, all

       Defendants knew that the defects in the subject vehicles had caused serious injuries and

       damage to other users of these vehicles.

  226. At all times herein mentioned, all Defendants, despite the actual knowledge described

       hereinabove, intentionally suppressed the aforementioned user complaints, criticisms,

       and other information to keep their knowledge from the general public, including

       Plaintiff, and failed to take any steps to warn Plaintiff, or other members of the general

       public, of the dangers of using the subject vehicle.

  227. At all times herein mentioned, Defendants had actual knowledge of the facts hereinabove

       alleged demonstrating that serious injury to users of the subject vehicle, including

       Plaintiff, would potentially result.   Defendants nevertheless deliberately failed and

       refused to recall the subject vehicle, or to take any other effective steps whatsoever to

       prevent such injuries. Defendants misrepresented the safety of the subject vehicle, and

       failed and refused to take any steps to prevent injuries from said vehicle, in order to

       increase the profits of Defendants from the sale of said vehicle.

  228. At all times herein mentioned, Defendants conspired to engage in a secret recall scheme

       to avoid the cost of recalling and repairing the unsafe and defective vehicles. Defendants

       have flouted the Vehicle Safety Act by failing to notify NHTSA that certain of their

       vehicles have defects in their ETCS, by failing to provide NHTSA and the public an

       opportunity to review their proposed

       remedies, and by silently installing unauthorized fixes on only those vehicles that happen

       to come in for service.
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    229. As a legal and proximate result of Defendants’ conduct, as herein alleged, Plaintiff

         sustained the injuries and damages set forth above.

   230. Defendants’ conduct, as set forth above, in allowing such an extremely dangerous product

         to be used by members of the general public, including Plaintiff, constitutes fraud, malice

         and oppression toward Plaintiff and others, and a conscious disregard of the safety of

         Plaintiff and others.

   231. Plaintiff is therefore entitled to exemplary or punitive damages, which would serve to

         punish the Defendants and to deter wrongful conduct in the future.

   232. WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them, as

         hereinafter set forth.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff requests of this Court the following relief:

       A. For all wrongful death and survival damages, in an amount to be proven at the time of

           trial;

       B. For medical, and funeral expenses associated with ADRIAN BARRAGAN

           CASTELLNOS’ injuries and death in an amount to be proven at the time of trial;

       C. Loss of the support, care, love, comfort, and companionship of ADRAIN BARRAGAN

           CASTELLANOS in an amount to be proven at the time of trial;

       D. For property damage and property loss, including damage to, and loss of use of, the

          subject vehicle;

       E. For an award of pre-judgment and post-judgment interest as provided by law;

       F. For consequential damages, in an amount to be proven at the time of trial;
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       G. For exemplary or punitive damages against Defendants Toyota Motor North America,

          Inc., Toyota Motor Engineering & Manufacturing North America, Inc., Toyota Motor

          Sales, U.S.A., Inc., and Toyota Motor Corporation, as provided by law;

       H. For an award providing for payment of costs of suit;

       I. For such other and further relief as this Court may deem just and proper.

Dated: April 20, 2022


                                              Respectfully submitted,

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                                              ATTORNEYS FOR PLAINTIFF




                                 DEMAND FOR JURY TRIAL

Plaintiff hereby demands a trial by jury on all issues that may be tried by a jury.

                                               /s/ Christopher T. Kirchmer
